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sO Harr: n County Adult Detention Facilit
George Payne, Jr., Sheriff
Post Assignment

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VCBlenitario # Heiken #254 .Called In Sick. Sgt. Leonard #156
- ‘| oo VT AT.O..Aester #252
Bennett #L90
Alfonso #259.
‘[eippetts 6257
Richards #171
Moore #282
GRankin #174
|Lacour #231
Mclain #255
Roberson #326 -° oe

ETO: ‘Allen #243

|Pettway #225 oo Hdbbard #241
a; Payne #317 Lacson #580
— _ |White #562
Spivey #553

Adamson #197 P/T
Barnes #183

Lorenzo #27&

"| Teel #I29

Si talze #e7- L

